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TEXAS DEPARTMENT 0F CR|N||NAL JUSTICE
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PART A: (To be completed by offender) Date'. ?> °' Q...Lo " 17
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are services fee. l also understand that l will be

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Part B: (To be completed by medical personne|- Do not vvrite below this lin
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Action Requested to resolve your Complaint. _,`.<-> :L go NL §§ § ` ` 51 g cl w a 1

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Ofi`ender Signature:

 
 

 

Grievauce Response:

Date:

 

Signature Authority:

If you are dissatisfied with the Step 1 response, you may submit a Step 2 (]-128) to the Unit Grievance Investigator Within 15 days from the date of the Step 1 response.

State the reason for appeal on the Step 2 Form.

Returned because: *Resubmit this form When the corrections are made.

m 1. Grievabie time period has expired

m 24 Submission in excess Ofl every 7 days. *

l:l 3. Originals not submitted *

m 4. Inappropriate/Excessive attachments *

m 5. No documented attempt at informal resolution *

m 6. No requested relief is stated *

m 7. Malicious usc of vulgar, indecent, or physically threatening language *
m 8. The issue presented is not grievabie.

m 9. Redundant, Refer to grievance #
m iO. lilegible/Incomprehensible. *

 

m ii. Inappropriate. *
UG! Printed Name/Signature:

 

Application of the screening criteria for this grievance is not expected to adversely
Affect the offender’s health.

 

Medical Signature Authority:

I-127 Back (Revised 11-2010)

 

OFFICE USE ONLY

Initial Submission UGI Initials:

Grievance #:

 

Screening Criteria Used:

Date Rccd from Offender;

Date Returned to Offender:
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Grievance #;

 

Screening Criteria Used:

Date Recd from Offender:

Date Returned to Offender:
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Grievance #:

 

Screening Criteria Uscd:

 

Date Recd from Offender:

Date Returned to Offender:

 

 

 

Appendix F

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Texas Department of Criminal Justice

STEP 2 GFFENDER

 

 

GRIEVANCE FORM
Ofl`ender Name: rm.§§\©% Y§§ a §§ TDCJ # §@'[9\§§'€;‘2£?‘
Unit: ` z:)/ c;' . v v Housing Assignment: ’\S¥ "“ §:

 

 

Unit Where incident occurred: f>.;’ 5\»; N’V§Y_ v\

 

OFFICE USE ONLY

Grievance #:
UGI Recd Date:
HQ Recd Date:
Date Due:
Grievance Code:
Investigator ID#:

Extension Date:

 

 

You int/st attach the completed Step ] Grievance that has been signed by the Wardenfar your Step 2 appeal to be
accepted You lnay nat appeal to Step 2 with a Step 1 that has been returned unprocessea’.

 

Give reason for appeal (Be Speciiic). 1 am dissatisfied with the response at Step ] because...

 

 

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I-128 Front (Revised 11*2010) YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FORM (OVER)

Appendix G

 

Case 9:17-cV-00172-RC-Z.]H Document 1 Filed 09/28/17 Page 17 of 38 Page|D #: 17

 

 

 

 

Date: 5 "’ 62 '_` l 7

Offender Signature:

 

 

 

Grievance Response:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Signature Authority: Date:
Returned because: *Resubmit this form when corrections are made. OFFICE USE ()NLY
Initial Submission CGO Initials:
[:l 1. Grievable time period has expired. Date UGIRecd:
l:l 2. Illegible/Incomprehensible.* Date CGO Rech
|:] 3. Originals not Submitted_ _k (check one)_Screened __lmproperly Submitted
Cornments:
|:l 4. Inappropriate/Excessive attachments.* Date Remed to Ojfender:
m 5. Malicious use of vulgar, indecent, or physically threatening language ZM§MU CGO Initials:
l:l 6. Inappropriate.* Date UGI Re°d:
Date CGO Recd:
(check one) WSCr€€ned _lmproperly Submitted
Comments:
CGO Staff Signature: Date Retumed to Offender:
§Q Submission CGO Initials:
Date UGI Recd:
Date CGO Recd:
(check one) _Screened __lmproperly Submitted
Comments:
Date Returned to Offender:

 

 

 

I-128 Back (Revised ll-ZOlO) Appendix G

Case 9:17-cV-00172-RC-Z.]H Document 1 Filed 09/28/17 Page 18 of 38 Page|D #: 18

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Action Requested to resolve your Complaint. ..»- \ v\_ P\VQ \\0:19 g ( 40 k
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/7
Offender Signature: CAV/M x

Grievance Response:

Date: 5`/<5`/7

Offender Kidd has been scheduled with l\/lr. Reil|ey for evaluation and follow-up regarding offender se|f»harm and potential referral to

UT|V|B Ga|veston for surgical removal.

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SignatureAuthority: /(WM /KM l<.~ l<@ne£'ML/) 7 l Dat.e: O§ 10¢?2;7

If you are dissatisfied with the Step 1 response, you may submit a Step 2 (I-IZB) to the Unit Grievance Investigator Within 15 days from the date of the Step 1 response.

State the reason for appeal on the Step 2 Form.

Returned because: *Resubmit this form when the corrections are made,

 

ij l. Grievable time period has expired

m 2_ Submission in excess ofi every 7 days *

m 3. Originals not submitted *

m 4. Inappropriate/Excessive attachments *

m 5 . No documented attempt at informal resolution *

l:l 6. No requested relief is stated 1

m 7. Malicious use of vulgar, indecent, or physically threatening language 1
l___] 8. The issue presented is not grievable.

m 9. Redundant, Refer to grievance #
m 10. Illegible/Incornprehensible. *

m ll. lnappropriate. *
UGI Printed Name/Signature:

 

 

Application of the screening criteria for this grievance is not expected to adversely
Affect the offender’s health.

Medical Signature Authority:

 

 

OFFICE USE ()NLY

Initial Submission UGl lnitials:

Grievance #:

 

Screening Criteria Used:

Date Recd from Offender:

Date Returned to Offender:
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Grievance #:

 

Screening Criteria Used:
Date Recd from Offender:
Date Returned to Offender:

WMM usi Ininals:

Grievance #:

 

Screening Criteria Used:
Date Recd from Offendcr:

Date Returned to Offender:

 

 

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1-127 Back (Revised 11_2010)

Appendix F

Case 9:17-cv-OOl72-RC-Z.]H Document 1 Filed 09/28/17 Page ZJEJLonS§ FZ’O@\$€|D #: 21

 

 

 

 

 

OFFICE USE ONLY
Texas Department of Criminal Justice Grievance#= &§)| l l Zg/l§fzfl
UGIRecd Date: M -
STEP 2 OFFENDER HQ Recdm: t z
GRIEVANCE FORM M
Date I)ue:
()ffender Name: C&C\ D$ K v as TDCJ # l 0 701_[_[§'£§' Grievance Code: (OQ' ‘_'|
Unit: C>\ Housing Assignment: l¢g\ ` 0 "' l 0) Invesn'gator ID#:
Unit Where incident occurred: rp C>l UUSK\\/j Extension Date:

 

 

 

 

Yoz/ must attach the completed Step l Grievance that has been signed by the Warden for your Step 2 appeal to be
accepted You may not appeal to Step 2 with a Step l that has been returned unprocessed.

 

Give reason for appeal (Be Speciiic). l am dissatisfied with the response at Step l becaz/se...

 

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1-128 Front (Revised 11-2010) YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FORM (OVER)
Appendix G

Case 9:17-cv-00172-RC-Z.]H Document 1 Filed 09/28/17 Page 22 of 38 Page|D #: 22

 

 

 

Offender Signature: ( /?,7/¢{\ \\/ 7(\ Date: £O " /é '~ / 7

Grievance Response:

A review of the Step 1 medical grievance has been completed regarding your complaint the doctor named told you there was
really nothing he could do if the doctors at University/of Texas l\/|edical Branch (UTMB) Gaiveston would not put you to sleep or
give pain medication as requested to do the procedure to remove the razor. Your complaint the razor lodged in your penis had
been there for almost three months was reviewed as well as action requested to be sent to the hospital to have the razor
removed.

You were most recently assessed on 7/10/2017, for evaluation regarding your request for surgical removal of a foreign object
which you stuck in your penis. A pelvis x¢ray was ordered and completed with no foreign body identified on 7/12/2017.

|f you feel your situation requires further evaluation you are advised to submit a Sicl< Call Request to the medical department
Although you and your healthcare providers may differ in opinion regarding your needs and medical treatment rendered, these
decisions are ultimately the responsibility of the facility providers. No further action is warranted from this office through the
grievance process.

STE.P ll MED|CAL GRIEVANCE PROGRAM
OF-FlGE OF" F‘RDFESS|ONAL STANDARDS

 

 

 

 

 

 

 

 

 

 

 

 

 

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Signature Authority: Date: l / l /
Returned because: *Resul)mit this form when corrections are made. OFFICE USE ONLY
Initial Submission CGO Initials:
l] 1. Grievable time period has expired. Date UGIRecd:
l:l 2. Illegible/Incomprehensible* Dat€ CGO R€°di d
. . . (check one) _Screen€ __Improperly Submjtted
l___l 3. Orxglnals not submitted. * Conmemsz
l:l 4. Inappropriate/Excessive attachments.* Date Retumed to OEender:
l:l 5. Malicious use of vulgar, indecent, or physically threatening language ZMM CGO Initials:
l:l 6. Inappropriate.* Date UGIReCd:
Date CGO Recd:
(check one) ____Screen€d ______lmproperly Submitted
Cornments:
CGO Staff Signature: . Date Retumed to Offender:
§m Submission CGO Initials:
Date UGI Recd:
Date CGO Recd:
(check one) __Scr€€n€d _lmproperly Submitted
Comments:

 

Date Returned to Offender:

 

 

 

I~128 Back (Revised 11-2010) Appendix G

Case 9:17-cv-00172-RC-Z.]H Document 1 Filed 09/28/17 Page 23 of 38 Page|D #: 23

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9: lil?ex-aml?emtnrenl)@t)€mimilralbdu§uem Page 24 &FBSEQHFE¥¢P%Y

Grievance #:

 

oFFENDER
STEP 1 GRIEVANCE FoRM

Date Received:

Date Due:

 

 

Grievance Code:

Offelldel' Nam€: C/O\C\<O% K l §§ TDCJ # l 0751£`}®[1( lnvestigator lD #:
Unit: §§ Q\L£~(\§>!~__-: Housing Assignment: l 3 _ l; Extension Dal-e:

Unit Where incident occurred: UTN\'E> @Rllla§rbq/ J%l@°llf pa lum&f;:\) Date Retd w Oi.f€nder:

 

 

 

 

You must try to resolve your problem With a staff member before you submit a formal complaint The only exception is When
appealing the results of a disciplinary hearing

Who did you talk to (name tit le)‘? ®(\ mm Q<,\ "` ?&U\ME\'(I:S":,' When? 5 "£&"’l 2
Whatwasthei1 response“.’ (\\OA' `\»\€L`&. \/\i£i‘Ss UCAY\\(\:*\:) \'\P C»C)Ul£) C§© libde :1-“"

What action Was taken? §\’\é. Q; \\_ NA\ Q'Q‘ "\'¥\v\ §§ €’\\\€Al G~f\( 0

 

State your grievance in the space provided. Please state who, what, when, Whel e and the disciplinary case number if appropriate

 
  

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1~127 Front (Revisecl l 1~2()10:) YOUR SIGNATURE IS REQL’IRED ()N BACK OF THlS FORl\/[ (OVER)

Appendix F

 

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Action Requested to resolve your Complaint.

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Offender Signature: f/~` »
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Grievance Response:

Signatu re Authority:

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Date: %" &q~ /;

Date:

 

If you are dissatisfied with the Step 1 response, you may submit a Step 2 (I-128) to the Unit Grievance Investigator within 15 days from the date of the Step 1 response

State the reason for appeal on the Step 2 Form.

Returned because: *Resubmit this form When the corrections are made.

n l, Griev-able time period has expired.

m 2. Submission in excess of 1 every 7 days. *

m 31 Originals not~submitted. *

m 4. Inappropriate/Excessive attachments *

m 5. No documented attempt at informal resolution. *

m 6. No requested relief is stated *

m 7. Malicious use of vulgar, indecent, or physically threatening language *

m 8. The issue presented is not grievable.
[:] 9. Redundant, Refer to grievance #

 

 

m 10. Illegible/Incomprehensible. *

m ll. Inappropriate. *
UGI Printed Name/Signature:

 

Application of the screening criteria for this grievance is not expected to adversely

Affect the offender’s health.

Medical Signature Authority:

 

1-127 Back (Revised 11-2010)

 

OFFICE USE ONLY

Initial Submission UGI Initials;

Grievance #:

 

Screening Criteria Used:

Date Recd from Offender:

Date Retumed to Offender:
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Grievance #:

 

Screening Criteria Used:

Date Recd from Offender:

Date Returned to Offender:
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Grievanee #:

 

Screening Criteria Used:
Date Recd from Offender:

Date Retumed to Offender:

 

 

Appendix F

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Case?e`?¢l'a`i&v-%o“i>raQC-z§H leboe‘uhem 1 Filed 09/28/17 Page 26 of 38 PagelD #: 26

Texas Department of Criminal Justice

STEP 2 oFFENDER

GRIEVANCE F()RM

 

offender Name: Ce»t\e:: 'l<;~' 555 TDCJ# 13373133113 5

v Housing Assignment: 9 "` '“‘
Unit Where incident occurred: Q 33513\1‘\&4£,3\

 

 

 

()FFICE USE ONLY

Grievance #:
UGI Recd Date:
HQ Recd Date:
Date Due:
Grievance Code:
Investigator ID#:

Extension Date:

 

 

 

Yoa must attach the completed Step l Grz`evance that has been Sz`gned by the Warden for your Step 2 appeal to be
accepted Yoa may nat appeal to Step 2 Wz`th a Step l that has been returned anprocessed.

 

Give reason for appeal (Be Specific). 1 a)n dissatis/€ea’ with the response at Step l because...

 

 

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I-128 Front (Revised ll-Z()l 0) YOUR SIGNATURE IS REQUIRED ON BACK OF THIS F()RM (OVER)

Appendix G

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Offender Signature: / /£7/" §/_’”’°"""_'/ Date: § `C€ '~ l7
L./I -» `../

 

 

Grievance Response:

 

 

 

 

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Signature Authority: Date:
Returned because: *Resubmit this form when corrections are made. QFFICE USE ONLY
Initial Submission CGO Initials:
l:l 1. Grievable time period has expired. Date UGIRecd:
l:l 2. Illegible/Incomprehensible.* Date CGO Recd~`
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m _ _ * Comments:
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Comments:
Date Retumed to Offender:
I-128 Back (Revised ll-ZOlO) Appendix G

 

 

 

 

 

 

 

 

 

 

 

 

 

Case 9:17-cv-OOl72-RC-Z.]H Document 1 Filed 09/28/17 Page 28 of 38 Page|D #: 28

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GRIEVANCE F()RM
Date Due:

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Offender Name: C'&€.\é>% ¥i\\ 595 TDCJ # \'O?QZ@ 5{: investigator 11) #: 7W_WM
Unit: Q€§\; §§\EL_Y:~ § Housing Assignment: 53 ” ;\ l lixtensiun Date: 7 W W-_,

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dppealing the results of a disciplinary hearing

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5-‘27 Front (Revised ll-ZO]O) YOUR SlGNATURE IS REQUIRED ON BACK OF THIS FORM (OVER)

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Action Requested to resolve your Complaint.

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Offender Signature: / // ` Date:
C/ (_/ \_

Grievance Response:

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Date:

 

Signature Authority:

If you are dissatisfied With the Step 1 response, you may submit a Step 2 (I-

State the reason for appeal on the Step 2 Form.

Returned because: *Resubmit this form when the corrections are made.

m l. Grievable time period has expired.

m 2. Submission in excess of l every 7 days. *

m 3. Originals not submitted *

L__l 4. lnappropriate/Excessive attachments *

m 5 . No documented attempt at informal resolution *

m 6. No requested relief is stated. *

m 7` Malicious use of vulgar, indecent, or physically threatening language *

m 8. The issue presented is not grievable.
m 9. Redundant, Refer to grievance #

128) to the Unit Grievance Investigator within 15 days from the date of the Step l response.

 

 

m lO. lllegible/Incomprehensible. *
m ll. lnappropriate. *
UGI Printed Name/Signature:

 

Application of the screening criteria for this grievance is not expected to adversely

Affect the offender’s health.

Medical Signature Authority:

 

I-127 Back (Revised ll~ZOlO)

 

OFFICE USE ONLY

Initial Submission UGI Initials:

Grievance #:

 

Screening Criteria Used:

Date Recd from Offender:

Date Returned to Offender:
Z”§L&l_bms_s_ig UGI initials:

Grievance #:

 

Screening Criteria Used:
Date Recd from Offender:
Date Returned to Offender:

F____Submission UGI Inmals:

Grievance #:

 

Screening Criteria Used:
Date Recd from Offender:

Date Returned to Offender:

 

 

Appendix F

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0FFICE USE ONLY
Texas Departrnent of Criminal Justice Grievance#:

S TE P 2 GFFENDER UGI Recd Date; _

HQ Recd Date:
GRIEVANCE FORM

 

Date Due:

 

Offender Name: CG»K\ ':>& \4"§ §§
Unit: y >; et\"€c Housing Assignment: \;l "~ i:' Investigamrn)#;
Unit Where incident occurred: Qw`\wr~?§b:) / ¢"` viii ii ida K&fi’g Extension Date;

Grievance Code:

 

 

 

 

You must attach the completed Step 1 Grievance that has been signed by the Wardenforyaar Step 2 appeal to be
accepted Yon may not appeal ta Step 2 with a Step l that has been returned unpracessed.

 

Give reason for appeal (Be Specific). 1 am dissatis]€ed with the response at Step ] because...

 

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I-128 Front (Revised ll-ZOlO) YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FORM (OVER)

Appendix G

Case 9:17-cv-OOl72-RC-Z.]H Document 1 Filed 09/28/17 Page 32 of 38 Page|D #: 32

 

 

 

 

 

 

Offender Signature: ` g ' ,, »~ Date: 7 " 7 " l 7
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Grievance Response: //
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Signature Authority: Date:

 

 

 

Returned because: *Resubmit this form when corrections are made.

m 1. Grievable time period has expired.
i:i 2. Illegible/Incomprehensible.*
I:i 3. Originals not submitted. *

i:i 4. Inappropriate/Excessive attachments.*

i:i 5. Malicious use of vulgar, indecent, or physically threatening language

i:i 6. Inappropriate.*

CGO Staff Signature:

 

 

I-128 Back (Revised ll-ZOlO)

 

OFFICE USE ONLY

Initial Submission CGO Initials:

Date UGI Recd:

 

Date CGO Recd:

 

(check one) Screened Improperly Subrnitted

Comments:

 

Date Returned to Olfender:
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Date UGI Recd:

 

 

Date CGO Recd:

 

(check one) SCr€ened Improperly Submitted

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Date Returned to Offender:
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Date UGI Recd:

 

 

Date CGO Recd:

 

(check one) SCre€ned lmproperly Submitted

Comments:

 

Date Returned to Offender:

 

Appendix G

 

 

Case 9:17-cv-OOl72-RC-Z.]H Document 1 Filed 09/28/17 Page 33 of 38 Page|D #: 33

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OFFENDER 5
STEP 1 GRIEVANCE FORM Date Rec€““i~--~w@ MMMMMMM , ___________ 2 wm

Date Due:

 

 

Grievancc Code: v v

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Unit: § § ©\gj§ 13 §§ Housing Assignment: l' 3 * § ) 1511€11§1011 l)are: “_M_WW 7

Unit Where incid€liwf OCClll‘l‘€CiZ ©G}\h`(\.">\é'/\ Date Retri to (`)ft`enrier;

 

 

 

 

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What Was their response‘? [\i®('\£>

What action Wastaken'l m Q 'i 1 oei\ c§g "\)i/\\" @\\i.:\ ©A S<\C (’>
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State your grievance m the space provldcd. Plcase state who, What, when, where and the chsciphnar_v case 1111111111:1' xi ;21§151111;11'1:211<:

 

 

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1127 Front (Revised ll-ZOIO) YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FORl\/I (OVER)

Appendix F

 

Case 9:17-cv-OOl72-RC-Z.]H Document 1 Filed 09/28/17 Page 35 of 38 PagelD #: 35

 

 

 

 

 

 

 

Offender Signature:

//9/_:_; \l\) Date: 73/& 317

Grievance Response:

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Signature Authority: Date:
If you are dissatisfied with the Step 1 response, you may submit a Step 2 (I-128) to the Unit Grievance Investigator within 15 days from the date of the Step 1 response.

State the reason for appeal on the Step 2 Form.

 

Returned because: *Resubmit this form when the corrections are made.

 

m l. Grievable time period has expired.
OFFICE USE ONLY

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Submission in excess of 1 every 7 days. *

Originals not submitted *

lnappropriate/Excessive attachments *

No documented attempt at informal resolution *

No requested relief is stated *

Malicious use of vulgar, indecent, or physically threatening language *

The issue presented is not grievable.

Redundant, Refer to grievance #

lnitial Submission UGI Initials:

Grievance #:

 

Screening Criteria Used:
Date Recd from Offender:

Date Returned to Offender:

_Z_”l_______SubmiSsion UGI Inrciars:

Grievance #:

 

Screening Criteria Used:

m lO. lllegible/Incomprehensible. * Date Recd from Offender:

m ll. lnappropriate. *

UGI Printed Name/Signature: ;L"-EML@_ UGI rniriars;
Grievance #;

Date Returned to Ot`fender:

 

Application of the screening criteria for this grievance is not expected to adversely
Affect the offender’s health.

Scr'eening Criteria Used:
Date Recd from Offender:

Medical Signature Authority: Date Returned to Offender;

 

 

 

 

I-127 Back (Revised 11~2010)
Appendix F

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GFFICE USE ONLY

  

Texas Department of Criminal Justice Grievance#=

UGI Recd Date:
OFFENDER HQ Recd Date:
GRIEVANCE FORM mm Due_
Offender Name: C,€°“» *""\F)`i\ K§"<Q>& TDCJ # §§ ?4 if / ' Grievance Code:

   

 

Unit: :Sg\w\€\%;¥;’ Housing Assignment: \S\ “~ F: lnvestigamr ID#;

f ry , f
Unit Where incident occurred: ` \')@\ ` N“\ Q>\C § Exrension Dare:

 

 

 

 

You must attach the Completea' Step ] Grz`evance that has been signed by the Wardenfar your Step 2 appeal to be
accepted You may not appeal to Step 2 with a Step 1 that has been returned unprocessea'.

 

Give reason for appeal (Be Speci{ic). 1 am dissatisj€ea’ with the response at Step ] because...

 

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I-128 Front (Revised ll-ZO]O) YOUR SlGNATURE IS REQUIRED ON BACK OF THIS FORM (OVER)

Appendix G

CaSe 9:17-cv-OOl72-RC-Z.]H Document 1 Filed 09/28/17 Page 37 of 38 Page|D #: 37

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Offender Signature: / ;»AL, _ .7 `\ Date: g " 1 q " 1 7
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Grievance Response: W `/ L/ L/
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Signature Authority: Date:
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|:l 5. Malicious use of vulgar, indecent, or physically threatening language ZM_SQM CGO Initials:
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I-128 Back (Revised 11-2010) Appendix G

 

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